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‘ rized by Order of the Court, Civil Action No. 10 md 2179 Rec. Doc. 982

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ag\t “? 198 pen “ said Order having also been filed in Civil Actions No. 10-8888 and 10-2771)
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MDL 2179. -

By 5y submitting this document, lam asserting a claim in n Complaint and Petition of Triton Asset Leasing GmbH, et
al, No. 10-2771; adopt and incorporate the Master Answer [Rec. Doc. 244] to the Complaint and Petition of Triton
Asset Leasing Gmbh, et al., in No. 10-2771; andfor intervene into, join and otherwise adopt the Master
[Rec. Doc. 879] for private economic losses (“B1 Bundle”) filed in MDL No. 2179 (10 md 2179); and/or i
into, join and otherwise adopt the Master Complaint [Rec. Doc. 881] for post-explosion injuries (“B3 ”)
filed in MDL No. 2179 (10 md 2179).

Last Name _ First Name _ Middle Name/Maiden | Suffix

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INDIVIDUAL CLAIM oO BUSINESS CLAIM Oo

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Job Title / Description ! Type of Business Cveks Flaming
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Seer | Oty! Site Zp hs heme EL 33180
Last 4 digits of your Social Security Number ~ Last 4 digits of your Tax ID Number 6455

‘Atomey Name Pal Ke Us . llelele as : Firm Name
SL Ceencl Sh She 2360" Yours Orleans, LA 7130
Phone Number SGR- 8007 Mal Address ie 5 labret | co

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Claim filed with BP? YES Oo NO ay . Claim Filed with GCCF?: YES i NO

If yes, BP Claim No.: _ If yes, Claimant identification No.:

Claim Type (Please check all that apply):

Damage or destruction fo real or personal property 0 Fear of Future Injury and/or Medical Monitoring
ax Earnings/Profit Loss oO Loss of Subsistence use of Natural Resources
Personal injury/Death Oo Removal and/or clean-up costs
O Other.

' This form should be filed with the U.S. District Court for the Eastern District of Louisiana, 500 Poydras Street, New Orleans, Louisiana 70130, in Civil Action No.

10-8888. While this Direct Filing Short Form is to be filed in CA No. 10-8888, by prior order of the Court, (Rec. Doc. 246, CA. No. 10-2771 and Rec. Dec. 982 in MDL
2179), the filing of this form in C.A. No. 10-8888 shall be deemed to be simultaneously filed in CA. 10-2771 and MDL 2179. Plaintiff Liaison Coungel, after being
notified electronically by the Clerk of Court of the filing of this Short Form, shall promptly serve this form through the Lexis Nexis service system on Defense Liaison.

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The filing of this Direct Filing Short Form shall also serve in lieu of the requirement of a Plaintiff to file a Plaintiff Profile Form.

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Brief Description:

1. For earnings/profit loss, property damage and loss of subsistence use claims, describe the nature of the injury. For claims
involving real estate/property, include the property location, type of property (residential/commercial), and whether
damage occurred. For claims relating to fishing of any type, include the type and location of fishing grounds at issue.

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2. For personal injury claims, describe the injury, how and when it was sustained, and identify all health care providers and
employers 2008 to present and complete authorization forms for each.

3. For post-explosion claims related to clean-up or removal, include your role in the clean-up activities, the name of your
employer, and where you were working.

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The filing of this Direct Filing Short Form shall also serve in lieu of the requirement of a Plaintiff to file a Plaintiff Profite Form.

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Please check the box(es) below that you think apply to you and your claims:
Non-governmental Economic Loss and Pro Damage Claims (Bundle B1

0 1. Commercial fisherman, shrimper, crabber, or oysterman, or the owner and operator of a business involving fishing, shrimping,
crabbing or oystering.

O02. Seafood processor, distributor, retail and seafood market, or restaurant owner and operator, or an employee thereof.

eT. Recreational business owner, operator or worker, including a recreational fishing business, commercial guide service, or charter
fishing business who eam their living through the use of the Gulf of Mexico. .

a. Commercial business, business owner, operator or worker, including commercial divers, offshore oilfield service, repair and
° supply, real estate agents, and supply companies, or an employee thereof. :

(1 5. Recreational sport fishermen, recreational diver, beachgoer, or recreational boater.
O16. Plant and dock worker, including commercial seafood plant worker, longshoreman, or ferry operator.

ol7 Owner, lessor, or lessee of real property alleged to be damaged, harmed or impacted, physically or economically, jincluding
lessees of oyster beds.

Ko Hotel owner and operator, vacation rental owner and agent, or all those who earn their living from the tourism industry.
O 9. Bank, financial institution, or retail business that suffered losses as a result of the spill.
(1 10. Person who utilizes natural resources for subsistence.

(1 11. Other:

Post-Explosion Personal Injury, Medical Monitoring, and Pro Damage Related to Cleanup (Bundle B3
0 1. Boat captain or crew involved in the Vessels of Opportunity program.
OF 2. Worker involved in decontaminating vessels that came into contact with oil and/or chemical dispersants.

D 3. Vessel captain or crew who was not involved in the Vessels of Opportunity program but who were exposed to harmful chemicals,
odors and emissions during post-explosion clean-up activities.

Ol 4. Clean-up worker or beach personnel involved in clean-up activities along shorelines and intercoastal and intertidal zone$.
(1 5. _ Resident who lives or works in close proximity to coastal waters.

01 6. Other.

Both BP and the Gulf Coast Claims Facility (‘(GCCF”) are hereby authorized to release to the Defendants in MDL
2179 all information and documents submitted by above-named Plaintiff and information regarding the status of any
payment on the claim, subject to such information being treated as “Confidential Access Restricted” under the Order
Protecting Confidentiality (Pre-Trial Order No. 11), and subject to full copies of same being made availabl@ to both
the Plaintiff (or his attorney if applicable) fi ing this form and PSC through Plaintiff Liaison Counsel.

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Claimant or _eenes Signature

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Print Name

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Date *

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The filing of this Direct Filing Short Form shail also serve in lieu of the requirement of a Plaintiff to file a Plaintiff Profile Form.

